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                          UNITED STATES BANKRUPTCY COURT                   SF07043 (rev 10/2013)
                                Southern District of Indiana
                                 46 E. Ohio St., Rm. 116
                                  Indianapolis, IN 46204
In re:

Derek Lee Vanwinkle,                                    Case No. 14−02251−JMC−7A
Stacey Leigh Vanwinkle,
            Debtors.

               NOTICE OF POSSIBLE ASSETS, ABANDONMENT, AND
                          LAST DAY TO FILE CLAIMS

A Report of Possible Assets and Abandonment of Property was filed on March 30, 2016,
by Trustee Paul D. Gresk.

NOTICE IS GIVEN that all scheduled assets will be abandoned from the estate except
debtor's interest in their non−disclosed lawsuits. Any objection to the proposed
abandonment of property must be filed with the Court by April 13, 2016. Objections
should comply with S.D.Ind. B−9013−1(d) and must be served on the trustee. If no
objections are filed, the abandonment of property becomes effective after April 13, 2016.

NOTICE IS FURTHER GIVEN that assets, not abandoned from the estate, may be used
to pay a dividend to creditors. Creditors must file a claim by June 30, 2016 in order to
share in any distribution from the estate. Instructions to obtain a proof a claim form or
to file electronically can be found at www.insb.uscourts.gov/filing_claims.html. A proof of
claim form can also be obtained from any bankruptcy clerk's office.

Dated: March 30, 2016                         Kevin P. Dempsey
                                              Clerk, U.S. Bankruptcy Court
